      Case 1:12-cr-00102-TWP-TAB                              Document 3110                        Filed 04/25/16          Page 1 of 1 PageID #:
                                                                     21728
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                   Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                                       for the
                                                         Southern District
                                                       __________ District of
                                                                           ofIndiana
                                                                              __________

                    United States of America
                               v.                                                        )
                           Kent Whitinger                                                )
                                                                                         )   Case No: 1:12CR00102-003
                                                                                         )   USM No: 10859-028
Date of Original Judgment:                              02/21/2013                       )
Date of Previous Amended Judgment:                                                       )   Sara J. Varner
(Use Date of Last Amended Judgment if Any)                                                   Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   87                      months is reduced to 70 months*                           .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                                     02/21/2013          shall remain in effect.
IT IS SO ORDERED.

Order Date:               4/25/2016
                                                                                                                Judge’s signature


Effective Date:                                                                          Honorable Tanya Walton Pratt, U.S. District Court Judge
                     (if different from order date)                                                           Printed name and title
                                                  A CERTIFIED TRUE COPY
                                                  Laura A. Briggs, Clerk
                                                  U.S. District Court
                                                  Southern District of Indiana

                                                  By
                                                                        Deputy Clerk
